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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA



 MILES MORAN and GERARD TAYLOR,
 for themselves and all others similarly
 situated,
                                                       Case No. 19-cv-13553-EEF-MBN
                                                       Consolidated with 20-cv-1275
                Plaintiffs,
                                                       (This filing pertains only to Moran v.
                                                       Landrum-Johnson, 19-cv-13553)
        v.
                                                       (Class Action)
 KEVA LANDRUM-JOHNSON, et al.,

                Defendants.


                                STIPULATION OF DISMISSAL

       In accordance with Fed. R. Civ. P. 41(a)(1)(A)(ii), the Parties to Moran v. Landrum-

Johnson, 19-cv-13553, represented by undersigned counsel, stipulate to the voluntary dismissal

without prejudice of Count II of Plaintiffs’ Complaint (ECF No. 1) and Amended Complaint

(ECF No. 10), which alleged a due process violation arising from a financial conflict of interest

in Defendants’ pretrial detention practices.


Respectfully submitted,


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